                                         Case 3:22-cv-01480-WHO Document 10 Filed 07/08/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT
                                   5                           NORTHERN DISTRICT OF CALIFORNIA
                                   6

                                   7     DAVID BENEDIC,                                Case No. 22-cv-01480-WHO (PR)

                                   8
                                                       Plaintiff,
                                                                                       ORDER OF DISMISSAL
                                   9
                                                v.

                                  10     SAN MATEO COUNTY, et al.,

                                  11
                                                       Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff David Benedic has not filed an amended complaint by the deadline of May
                                  14   27, 2022. Accordingly, this federal civil rights action is DISMISSED (without prejudice)
                                  15   for failing to comply with the Court’s order and for failing to prosecute, see Federal Rule
                                  16   of Civil Procedure 41(b).
                                  17          Because this dismissal is without prejudice, Benedic may move to reopen. Any
                                  18   such motion must contain an amended complaint that complies in all respects with the
                                  19   Order Dismissing Complaint With Leave to Amend. (Dkt. No. 7.) The motion also must
                                  20   have the words MOTION TO REOPEN written on the first page.
                                  21          The Clerk shall enter judgment in favor of defendants, and close the file.
                                  22          IT IS SO ORDERED.
                                  23   Dated: July 8, 2022
                                                                                        _________________________
                                  24
                                                                                        WILLIAM H. ORRICK
                                  25                                                    United States District Judge
                                  26
                                  27

                                  28
